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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                    CIVIL ACTION NO.: 1:15-CV-12939-LTS

METROPOLITAN PROPERTY AND                           )
CASUALTY INSURANCE COMPANY, and                     )
THE COMMERCE INSURANCE COMPANY,                     )
     Plaintiffs/Counterclaim Defendants,            )
                                                    )
       v.                                           )
                                                    )
SAVIN HILL FAMILY CHIROPRACTIC, INC.,               )
et als.,                                            )
         Defendants,                                )
                                                    )
       and                                          )
                                                    )
LAW OFFICES OF JEFFREY S. GLASSMAN                  )
LLC,                                                )
     Defendant/Counterclaim Plaintiff.              )

 PLAINTIFFS/DEFENDANTS-IN-COUNTERCLAIM, METROPOLITAN PROPERTY
  AND CASUALTY INSURANCE COMPANY AND THE COMMERCE INSURANCE
    COMPANY’S EMERGENCY MOTION TO COMPEL PRODUCTION OF THE
  RECORDING AND/OR TRANSCRIPT OF THE RECORDED NOVEMBER 13, 2018
  MEET AND CONFER REGARDING THE GLASSMAN DEFENDANTS’ MASTER
                      DISCOVERY RESPONSES

       NOW COME the Plaintiffs/Defendants-in-Counterclaim, Metropolitan Property and

Casualty Insurance Company (“Metropolitan”) and The Commerce Insurance Company

(“Commerce”)(collectively referred to herein as “the Plaintiffs”), and hereby respectfully

requests that this Honorable Court compel the Defendants, Jeffrey S. Glassman and Law Offices

of Jeffrey S. Glassman, LLC (“the Glassman Defendants”) and/or their undersigned counsel to

produce a copy of the electronic recording and/or transcript of the recorded meet and confer by

and between the Glassman Defendants and the Plaintiffs on or about November 13, 2018,

concerning the Glassman Defendants’ incomplete and/or insufficient Responses to the Plaintiffs’

Master Discovery Requests, which includes the conferencing of issues set forth in the Plaintiffs’
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Motion to Compel Answers to the Plaintiffs’ Master Interrogatories (Doc. Nos. 867-868), and

may also contain issues raised in the Plaintiffs’ Motion to Compel Complete Responses to

Master Request for Production of Documents (Doc. Nos. 855-856), as well as the Plaintiffs’

Motion to Compel Responses to the Plaintiffs’ Individual Discovery Requests from the

Glassman Defendants (Doc. Nos. 886-887).

       In support hereof, the Plaintiffs state as follows:

       1.      On or about November 13, 2018, the Plaintiffs and the Glassman Defendants

continued the ongoing meet and confer efforts concerning the Glassman Defendants’ Answers to

the Plaintiffs’ Master Interrogatories, as well as other discovery issues between the Parties.

       2.      During the meet and confer effort on November 13, 2018, Attorney Pollack on

behalf of the Glassman Defendants inquired into whether the Plaintiffs’ counsel would allow the

meet and confer to be recorded. In response thereto, Plaintiffs’ counsel advised that he would

permit the recording of meet and confer on the condition that the Plaintiffs were provided a copy

of the recording, which was agreed to by counsel for the Glassman Law Office.

       3.      Upon information and belief, the remainder of the meet and confer on November

13, 2018, between the Plaintiffs and the Glassman Defendants was recorded by counsel for the

Glassman Law Office.

       4.      On November 13, 2018, and then again on November 20, 2018, Plaintiffs’

undersigned counsel emailed the Glassman Defendants’ counsel requesting a copy of the

recording from the meet and confer effort on November 13, 2018. See Exhibit A. Counsel for

the Glassman Defendants never responded to said request.

       5.      The Plaintiffs’ counsel made multiple subsequent requests seeking a copy of the

recording of the meet and confer, and/or a copy of a transcript of the recording in the event that



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counsel for the Glassman Law Office had the recording transcribed, even as recently as

December 2, 2018. See Exhibit B (examples of written requests).

       6.      To date, the Glassman Law Office’s counsel has not provided the Plaintiffs with a

copy of the electronic recording of the meet and confer, nor has he provided a transcript of the

recording for the meet and confer, or any reason why he has refused to produce same despite

numerous requests over the course of almost one month.

       7.      To date, the Glassman Law Office’s counsel has not advised that the electronic

recording of the meet and confer did not work or does not exist.

       8.      The issues addressed during the recorded meet and confer effort on or about

November 13, 2018, are material to the Plaintiffs’ Motion to Compel Answers to the Plaintiffs’

Master Interrogatories (Doc. Nos. 867-868), which is scheduled for hearing on December 20,

2018, at 10:30 a.m., as certain concessions were made by the Glassman Defendants and/or their

counsel regarding responses and their assurances to discuss supplementation with their clients,

however, supplementation still has not occurred as of the filing of this motion. Moreover, the

recording may contain issues central to the Plaintiffs’ Motion to Compel Complete Responses to

the Plaintiffs’ Master Request for Production of Documents (Doc. Nos. 855-856), which is also

scheduled for hearing on December 20, 2018. Accordingly, the Plaintiffs requested a copy of the

recorded November 13, 2018, meet and confer prior to the December 20, 2018 hearing.

       WHEREFORE, the Plaintiffs respectfully request that this Honorable Court compel the

Defendants, Jeffrey S. Glassman and Law Offices of Jeffrey S. Glassman, LLC, and/or the

Glassman Law Office’s counsel to produce a copy of the electronic recording and/or transcript of

the recorded meet and confer effort by and between the Glassman Defendants and the Plaintiffs




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on or about November 13, 2018, prior to the hearing on December 20, 2018. The Plaintiffs

request any further relief that the Court deems just and appropriate.

                                              Respectfully submitted,
                                              By the Plaintiffs,
                                              Metropolitan Property and Casualty
                                              Insurance Company, and
                                              The Commerce Insurance Company,
                                              By their attorneys,

                                              _/s/ Peter R. Houston___
                                              Glenda H. Ganem
                                              BBO No. 564374
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                                              Peter R. Houston
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                                              McGovern, Houston & Ganem, P.C.
                                              21 Merchants Row, 4th Floor
                                              Boston, MA 02109
                                              (617) 723-1444
Dated: December 17, 2018

                                CERTIFICATE OF SERVICE

         I, Peter R. Houston, Esq., attorney for the Plaintiff, Metropolitan Property and Casualty
Insurance Company, hereby certify that this document was served, via electronic mail, to counsel
for all of the Defendants as identified on the Notice of Electronic Filing (NEF) and/or served in
compliance with the Fed.R.Civ.P.

                                                     /s/ Peter R. Houston
                                                     Peter R. Houston, Esq.

Date: December 17, 2018




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                    CERTIFICATE PURSUANT TO LOCAL RULE 7.1

         I, Peter R. Houston, Esq., attorney for the Plaintiffs, Metropolitan Property and Casualty
Insurance Company and the Commerce Insurance Company, certify that the Plaintiffs’ counsel
have conferred with counsel for Defendant, Law Offices of Jeffrey S. Glassman, LLC, in an
effort to resolve or narrow the issues in dispute. However, the Defendant’s counsel has failed to
produce the recording of the meet and confer effort on November 13, 2018, despite never stating
that the recording does not exist or was unsuccessful.

                                                     /s/ Peter R. Houston
Date: December 17, 2018                              Peter R. Houston, Esq.




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